                   Case 2:13-cr-00067-WKW-KFP Document 148 Filed 03/03/14 Page 1 of 6

AO 245B         (Rev. 09/1 1) JlLdgmcnL in a Criminal Case
                Sheet I



                                                UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF ALABAMA

               IJNITEI) STAlES OF AMI:RICA                                                JUDGMENT IN A CRIMINAL CASE
                                      V.                                        )

                          DELANCEY TOLLIVER                                               Case Number: 2:13cr067-03-WKW

                                                                                )         USM Number: 14462-002

                                                                                            Cleophus Gaines Jr.
                                                                                          DeSnidani's Attorney
THE DEFENDANT:
   pletuded guilty to count(s)               19 of the Indictment on 0712612013
E p1 coded nolo cmi lend are 10 Cu Uil i(s)
   which was accepted b y the courL                                                                                                                          ---

L was imind iuiIty oil              s)
  a fer a Pico of not guilty

Ihe defendant is adjudicated guilt y of these offenses:

Title & Section                      Nature of Offense                                                                    Offense Ended              Couni

 18:641; 2                               Theft of Public Money; Aiding and Abetting                                        09/25/2009                 19




El See additiojial coun:(s) oil          2


          The defendant is sentenced as provided in pages 2 through 7 of thisjudgment- The sentence is imposed pursuant to the
Sentencing Reform Act of i84.

    ftc defendant has been fduind not tU Ily on coun(s)

   (ouiil(s)     1, 17 and 18                                  Ll is    dare dismissed on the motion til the l.. ] niicd Stales

           It is OidLiCd iii ii the delend nit iuii notik the      iiiwci,l tics nllonley Iorthis tlisliiel ss ithin 1() days of an chin h L of name ieidence
oriiiailiiig address until Al hues, restitution, cosLs,and special ssesiTicnt5 imposed b y his udgineni sire fully paid Ii ordered to pay restillilion.
the detendant must notify the court and United States attorney of niateriai changes in 'economic circumstances

                                                                               02/20/2014
                                                                                Dale of In, inoo ii at, ul lu signielil




                                                                                W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                riic olJLidge                                      1 iLie of Judge




                                                                                Dane
                 Case 2:13-cr-00067-WKW-KFP Document 148 Filed 03/03/14 Page 2 of 6

AO 245B      (Rev. 0911]) Judgment in a Cnmisal Case
             Sheet 2   Imprisonment

                                                                                                                   Judgment Page: 2 of 6
  DEFENDANT: DELANCEY TOLLIVER
  CASE NUMBER: 2:13cr067-03-WKW



                                                               IMPRISONMENT

            Fhe delnJant is hereb committed to ihe eusod\ o the United States Fureau o Prisons to be imprisoned for a
  total term of:
   15 Months




          The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends that defendant be designated to a facility where drug treatment and vocational training are available.
  The Court recommends that defendant be designated to a facility as close as possible to Montgomery, AL.



     U The defendant is remanded to the custod y of the United States Marshal.


     U The d&éndant shall surrender to the United States Marshal for this district:

          U at                                         U am.      U p.m.        on

          U as notified by the United States Marshal.

          The dclndant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

               before 2:00 PM 0])

          U as notified by the United States Marshal.

          U as notified by the Probation or Pretrial Services Office,


                                                                      RETURN
  I have executed this judgment as fol]osss:




          Defendant delivered on                                                            to

                                                         with a certified copy of this judgment.




                                                                                                   UNITED STATUS MARSHAL




                                                                                                   t.;T y tINtI 1:]) S1AFS MARSHAL
                         Case 2:13-cr-00067-WKW-KFP Document 148 Filed 03/03/14 Page 3 of 6

 AO 2150            (Rev 55 1 I) J udgmeiii in a 0-111111111 Case

  L                 Stcct   S   Superviicd RcIca,c



 DEFENDANT: DELANCEY TOLLIVER                                                                                                 Judgment Page: 3 of 6

 CASE NUMBER: 2:13cr067-03-WKW
                                                                    SUPERVISED RELEASE
      Upon release from imprisonment, the defendant shall he on supervised release for a term of:
      3 Years


           The del'cndant must report La the probation ollice in the district towhich the defendant is released within 72 hours of release from the
  custody ot the I3urcau of Prisons.
      ftc defendant shall not commit another lcderal, slate or local crimc.
  The defendant shall not unIawl'u[I possess a contiollcd suListance. Ihe defendant shall refrain from any unlawful use oF a controlled
  substance. The defendant shall submit to one drug test ssiihin 15 days ol release Irom imprisonment and at least two periodic drug tests
  thereafter, as determined by the court.
             the above drug testing condition is suspended, bused on the court's determination that the defendant poses a low risk of
             future substance abuse. (Chck il appiich/e.)

             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ,Jappliccthk'.)

             The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, fcipplicahk'.)

             [he defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. 16901, et seq.)
  E          as directed hy the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
             works, is a student, or was convicted of a quali Ring offense. (Check, /1.'phcahk')

  E          The dcl'endant shall participate in an approved program for domestic violence. (Check, i/applicable.)

          If this jtidgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
  Schedule of Pa y ments sheet of this judgment.
            The defendant must comply with the standard conditions that hwe been adopted by this court as well as with any additional conditions
  on the attached page.

                                                   STANDARD CONDITIONS OF SUPERVISION
I)            the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)     the defendant shall answer truthfully all inquiries by the probation olheer and follow the instructions of the probation officer;
       4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
              acceptable reasons,
        6)    the defendant shall notify the probation o 'fleer at least Len days prior to any change in residence or employment;
       7)     the defendant shall refrain l'rom excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
              controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician:
        8)    the defendant shall not ti'cqucnt places where controlled substances are illegally sold, used. distrihuted, or administered:
       9)     the defendant shall not associate with any persons cngaed in criminal actis.itv and shall not associate with any person convicted of a
              felony, unless granted permission to do so by the pi'oFation olhccr;
      10)     the defendant shall permit a probation otlicer to visit himor her at any time at home or elsewhere and shall permit confiscation ofanv
              contraband obseRed in plain view of the probation officer;
      It)     the defendant shall notify the probation officer within seventy-two hours of being ai'restedor questioned by a law enforcermnt officer:
      12)     the defendant shall not enter into any agreement to act as an infbrmcr or a special agent o['a law cnforeemnt agency without the
              permission of the court; and

      13)     as directed by the probation officer, the defendant shall notify third parties of risks that may he occasioned by the defendant's criminal
              record or personal histor y or characteristics and shall permit the probation officer to make such notifications and to confirm the
              defendant s compliance with such notification requirement.
                   Case 2:13-cr-00067-WKW-KFP Document 148 Filed 03/03/14 Page 4 of 6

AO 245 E3      (Rev.    1 [)Judgmcni in i Criminal Case
 I             SLicci 3C - Sapersisad Release

                                                                                                            Judgniciit Pagc 4 ol6
 DEFENDANT: DELANCEY TOLLIVER
 CASE NUMBER: 2:13cr067-03-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program of drug testing administered by the probation office for substance abuse, which
     may include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost of
     any treatment based on ability to pay and the availability of third-party payments.

     Defendant shall provide the probation officer any requested financial information.

     Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                     Case 2:13-cr-00067-WKW-KFP Document 148 Filed 03/03/14 Page 5 of 6

AO 24L3         (Rev OWl 1) JuJgiiicnt in a Criminal Cee
vi              Shed 5     CrinitnaL Mwitary Penlries

                                                                                                                                   Judgment Page: 5 o16
     DEFENDANT: DELANCEY TOLLIVER
     CASE NUMBER: 2:13cr067-03-WKW
                                                   CRIMINAL MONETARY PENALTIES
        The defendant must pa y the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment                                            Hue                                       Restitution
 TOTALS               $ 100.00                                              $                                         $ $39,881.83


        The determination of restilulion is dclrrcd until                         An Amended Judgment in a Criminal Case (,10245C) will be entered
        after such determination.

        The dehmdant must make restitution (including communit y restitution) to the fbllosing payecs in the amount listed below.

         F he defendant makes is paiLsl payment. each pm cc shall receive an approximatel y pmpnrtioned payment, unless specified otherwise in
        the priorit y order or pCreCn111C pa\•nlcni column hclo •s . 1 lowc Cr. pursuant to 18 U.S.c. § 3664(1), all nomifcdcral victims must be paid
        before the I Jnited Slates is paid.

     Name of Payee                                                      Total Loss*                      Restitution Ordered Priority or Percentage

      I RS-RACS                                                                                                      $39,881.83

     Attn: Mail Stop 6261, Restitution
     333 W. Pershing Avenue
     Kansas City, MO 64108




 TOTALS                                                                                        $0.00                 $39,881.83


         Restitution amount ordered pursuant to plea agreement S

 U The defendant must pay interest on restitution and a line of more than $2,500, unless the restitution or tine is paid in full before the
      Ii ftecnth day after the date of the judgment. pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheer 6 ma y he subject
     to penalties lor delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

         The court determined that the deidndant does 1101 hae the abilit y to                ilitCieSt and it is ordered that:

             the interest requirement is waived 1'or the           F1 Pnc             restitution.

             the interest requirement for the           U   line    U restitution is modified as follows:



 * Findings for [he total arruunt of losses are required under Chacrs 109A, lID, liOn, and 113A ofFitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                 Case 2:13-cr-00067-WKW-KFP Document 148 Filed 03/03/14 Page 6 of 6

AO 24513      (Rev. 09/11) Judgment in a Comma! Case
vi            Sheet 6   Schedtiie of Paymems

                                                                                                                          Judgment Page: 6 of 7
 DEFENDANT: DELANCEY                                                                       TOLLIVER
 CASE NUMBER: 2:13cr067-03-WKW


                                                         SCHEDULE OF PAYMENTS

 Ilaving assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of$ 39,981.83                            due immedialely, balance due

                  not later than                                           or
                  in accordance                C,           1),            E. or     V F below; or

 B     fl Payment to be g in immcdiaiely (may he combined with                     fl C.    D 1), or   fl F below); or
 C          Payment in equal                       (e g., weekly, month/v, quarterly) installments of S                           over a period of
                -     -- (e.g., months or Veomv), 10 commence               --       (e g. 30 or 60 days after the date of this judgment; or

 D     F1 Payment in equal -                    (e.g., week/v, monthly; quarterly) installments of S                       over a period of
                    -   (e.g months of-Years). to commence                       (e.g 30 or 60 does) after release from imprisonment 10 a
           term of supervision: or

 E     71 Payment during the term of supervised release will commence within - -- -.           ( e g.. 30 or 60 dave) tiller release from
           imprisonment. The court will set the pa yment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:

            All criminal monetary payments are to be made to the Clerk, United Stales District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid
            at the rate of not less than 5100.00 per month. To the extent that other defendants are ordered in this case or in any other case
            to be responsible for some or all of the restitution amount owed to the victim, the victim is entitled to only one recovery, from
            whomever received. In other words, the victim is not allowed to receive compensation in excess of its loss.


            Related cases/defendants:           Tarrish Tellis - 2:1 3cr067-01 -WKW




 El   Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (mncludingdeJendont number,), Total Amount, Joint and Several Amount,
      and corresponding payee, II' appropriate.




 El   The defendant shall pay the cost of prosecution.

LII   The defendant shall pa the ('01 10M           court cost( s):

 El   The defendant shall lhrfeit the defendant's interest in the Iblloiving properly to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitulion interest. (4) line principal.
(5) fine interest, (6) communit y restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
